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                   18         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                   19
                   20   JOHN ROE 1, an individual; JANE      Case No. 8:22-cv-00983-DFM
                        ROE 1, an individual; JANE ROE 2
                   21   an individual; JANE ROE 3, an        THE STATE BAR OF CALIFORNIA’S
                        individual, JOHN ROE 2, on behalf    OPPOSITION TO PLAINTIFFS’ MOTION
                   22   of themselves and all others         FOR PRELIMINARY INJUNCTION
                        similarly situated,
                   23                                        Courtroom: 6B
                                       Plaintiffs,           Judge:     Hon. Douglas F. McCormick
                   24         v.                             Date:      September 15, 2022
                                                             Time:      11:00 a.m.
                   25   THE STATE BAR OF
                        CALIFORNIA; TYLER
                   26   TECHNOLOGIES, INC.; KEVAN
                        SCHWITZER; RICK RANKIN;
                   27   and DOES 4 through 10, inclusive,
                   28                  Defendants.

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                    1   I.       INTRODUCTION
                    2            Plaintiffs’ Motion for Preliminary Injunction, (Dkt. 72 (“Mot.”)), is legally
                    3   unsupported, factually deficient, and falls far short of the high standard for
                    4   preliminary injunctions.      Plaintiffs rest their request chiefly on the baseless
                    5   accusation that the State Bar of California would file public disciplinary charges
                    6   against licensed attorneys for the sole purpose of lessening the damages that Plaintiffs
                    7   seek in this litigation. Plaintiffs offer no evidence that the State Bar would or even
                    8   could do such a thing, especially given that—as the State Bar explained to Plaintiffs
                    9   before they filed this Motion—decisions about whether to file public charges are
                   10   committed to the sound discretion of the Office of Chief Trial Counsel (“OCTC”),
                   11   an independent prosecutor who is confirmed by the California Senate. For that reason
                   12   alone, Plaintiffs’ request for a preliminary injunction should be denied.
                   13            The Court should also deny the Motion because Plaintiffs fail to meet their
                   14   burden of clearly showing that each of the four factors from Winter v. Natural
                   15   Resources Defense Council, Inc., 555 U.S. 7 (2008), weigh in their favor:
                   16            First, Plaintiffs do not demonstrate a likelihood of success on the merits
                   17   because the two claims on which the Motion rests—violation of the California
                   18   Information Practices Act (“IPA”) and invasion of privacy under the California
                   19   Constitution—are sorely lacking. The State Bar has already argued in the briefs filed
                   20   in support of its motion to dismiss that both claims fail as a matter of law. (Dkts. 38,
                   21   68.) The IPA does not apply to the State Bar, Plaintiffs did not comply with the
                   22   California Tort Claims Act’s (“CTCA”) presentation requirement, and Plaintiffs have
                   23   not shown the requisite “adverse effect” necessary to support an IPA claim.
                   24   Furthermore, Plaintiffs’ constitutional invasion-of-privacy count fails for lack of
                   25   well-pled allegations showing (1) a serious invasion that constitutes an egregious
                   26   breach of social norms, (2) intent to invade a legally protected privacy interest, or
                   27   (3) a reasonable expectation of privacy, all of which are required elements to state a
                   28   claim.

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                    1         Second, the Motion fails to establish that Plaintiffs are likely to suffer
                    2   irreparable harm absent the relief they seek. None of the evidence submitted by
                    3   Plaintiffs—including their conclusory, irrelevant, and otherwise incredible
                    4   declarations—contains any fact showing that OCTC is likely to file public charges
                    5   for the sole reason of lessening the Plaintiffs’ asserted damages claims or that this
                    6   would cause irreparable harm necessitating a preliminary injunction. Moreover,
                    7   Plaintiffs’ five-month delay in filing the Motion suggests no irreparable harm exists.
                    8         Third, the balance of equities does not favor Plaintiffs. In contrast to the
                    9   conclusory and speculative harms advanced in the Motion, an order prohibiting
                   10   OCTC from filing any attorney disciplinary charges would tremendously impede the
                   11   State Bar’s efforts to regulate the legal profession and thus fulfill its chief obligation
                   12   as required by law: the “protection of the public.” Cal. Bus. & Prof. Code § 6001.1.
                   13         Fourth, for similar reasons, the public interest manifestly does not favor an
                   14   injunction here. The public’s interest in the integrity of the legal profession vastly
                   15   outweighs Plaintiffs’ speculative interest in seeking damages in this case.
                   16         Finally, the Motion seeks other forms of relief that are both wildly overbroad,
                   17   not tailored to the harms alleged in the FAC, and otherwise wholly unsupported:
                   18   (1) preventing the State Bar from using the phrase “page views”; (2) requiring the
                   19   State Bar to prepare and send new notices to all affected individuals; and (3) perhaps
                   20   most extreme, prohibiting the State Bar from sharing information central to this
                   21   litigation with its defense counsel or other defendants. The Court should not grant
                   22   Plaintiffs their fanciful wish-list and deny the Motion.
                   23   II.   RELEVANT BACKGROUND
                   24         A.     THE STATE BAR
                   25         The State Bar is a constitutional entity, established by article VI, section 9 of
                   26   the California Constitution, and an integral part of the judicial function of the State
                   27   of California. See Cal. Const., art. VI, § 9; Cal. Bus. & Prof. Code, § 6001; In re
                   28   Rose, 22 Cal.4th 430, 438 (Cal. 2000). It is a public corporation created as an
                                                                                     STATE BAR’S OPP. TO PLAINTIFFS’
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                    1   administrative arm of the California Supreme Court for the purpose of assisting in
                    2   matters of attorney admission and discipline. See In re Attorney Discipline Sys.,
                    3   19 Cal.4th 582, 598–99 (Cal. 1998); see also Rosenthal v. Justices of the Sup. Ct. of
                    4   Cal., 910 F.2d 561, 566 (9th Cir. 1990). Although the State Bar conducts disciplinary
                    5   proceedings under statutory authority, the California Supreme Court retains inherent
                    6   power to control all matters related to attorney discipline. In re Attorney Discipline
                    7   Sys., 19 Cal.4th at 600.
                    8            A core part of the State Bar’s function is attorney discipline, which includes
                    9   reviewing and prosecuting, as necessary, ethics complaints against attorneys. Id. at
                   10   589. Disciplinary investigations are confidential until formal charges are publicly
                   11   filed. Cal. Bus. & Prof. Code, § 6086.1(b). The State Bar maintains records of
                   12   disciplinary investigations and proceedings through the Odyssey Portal, an online
                   13   case management system created and maintained by Tyler Technologies, Inc.
                   14   (“Tyler”). (Ex. A; Ex. B at 4–5.)1 The Odyssey Portal, which is accessible from the
                   15   State Bar Court’s website, allows complainants and respondents to view publicly
                   16   filed documents from State Bar Court disciplinary proceedings, i.e., once formal
                   17   charges are filed. (Ex. A.)
                   18            OCTC “handles complaints about unethical attorney conduct.” (Ex. C.) The
                   19   Board of Trustees of the State Bar appoints OCTC “for a term of four years,” which
                   20   is “subject to confirmation by the Senate.” Cal. Bus. & Prof. Code § 6079.5(a).
                   21   OCTC “shall report to and serve under the Regulation, Admissions, and Discipline
                   22   Oversight Committee of the Board of Trustees of the State Bar or its successor
                   23   committee on attorney discipline, and shall not serve under the direction of the chief
                   24   executive officer [of the State Bar].” Id. “The Board of Trustees of the State Bar
                   25   delegate[d] to the Office of Chief Trial Counsel exclusive jurisdiction to review
                   26   inquiries and complaints, conduct investigations and determine whether to file
                   27   notices of disciplinary charges in the State Bar Court,” except in narrow situations
                   28   1
                            “Ex.” refers to Exhibits to the Declaration of Tiana Demas filed with this brief.
                                                                                     STATE BAR’S OPP. TO PLAINTIFFS’
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                    1   not applicable here. Cal. Bar R. Proc. 2101.2 The Board of Trustees thus cannot
                    2   control or otherwise interfere with OCTC’s independence or discretion to investigate
                    3   and prosecute disciplinary proceedings.
                    4         B.     THE INCIDENT AND THE STATE BAR’S RESPONSE TO IT
                    5         This case arises from a third party’s harvesting and posting of limited
                    6   nonpublic docket-level information about attorney disciplinary complaints—case
                    7   number, filing date, case type, case status, and respondent and complaining witness
                    8   names (“Docket Data”)—that had been filed with the State Bar and hosted on the
                    9   Odyssey Portal (the “Incident”). (Ex. A; Ex. B at 3.) The State Bar learned of the
                   10   Incident on February 24, 2022, after which the State Bar, Tyler, and Rick Rankin
                   11   (collectively, “Defendants”) acted promptly to secure the Odyssey Portal and remove
                   12   the Docket Data from the internet, which they completed two days later, on
                   13   February 26. (Ex. A; Ex. B at 4–5.)
                   14         The State Bar issued a public statement about the Incident and posted to its
                   15   website Frequently Asked Questions (“FAQs”), which it regularly updated.
                   16   (Exs. A, B.) In those statements, the State Bar described the Docket Data involved
                   17   in the Incident and confirmed that it “d[id] not include full case records,” (Ex. A),
                   18   and “[t]he nonpublic records available on the [third party] site do not include detailed
                   19   State Bar case records.” (Ex. B at 4.) The State Bar also informed the public that,
                   20   during the time Docket Data was available on JudyRecords.com, only 1,034 records
                   21   showed signs of having been viewed (“Viewed Records”), and only six Viewed
                   22   Records contained the case type “Inactive 6007(b)(3) Mental Illness or Substance
                   23   Abuse.” (Ex. B at 1.)3
                   24
                        2
                   25     The Rules of Procedure of the State Bar of California are available online here:
                        https://www.statebarcourt.ca.gov/Portals/2/documents/Rules/Rules-of-Procedure.
                   26   pdf
                        3
                            (last visited August 25, 2022).
                          Pursuant to California Business & Professional Code § 6007(b)(3), a licensee may
                   27   be enrolled as inactive if “because of mental infirmity or illness, or because of
                        habitual use of intoxicants or drugs, [the licensee] is (i) unable or habitually fails to
                   28   perform his or her duties or undertakings competently, or (ii) unable to practice law
                        without substantial threat of harm to the interests of his or her clients or the public.”
                                                                                    STATE BAR’S OPP. TO PLAINTIFFS’
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                    1         The State Bar also stated it would voluntarily notify anyone affected by the
                    2   Incident, and it did. In May 2022, the State Bar began to send notification letters and
                    3   emails in four groups. Group 1 included the “approximately 1,300 complainants,
                    4   witnesses, or respondents whose names appeared in the [Viewed Records].” (Id.)
                    5   For this Group, the State Bar sent different letters to: (a) complainants and witnesses,
                    6   (Ex. D); (b) respondents, (Ex. E); and (c) the individuals connected with the six
                    7   records with the case type involving mental health or substance abuse. (Ex. F.)
                    8   Groups 2, 3, and 4 included “respondents” and “complainants and witnesses whose
                    9   names appeared in confidential records for which there is no evidence of a page
                   10   view.” (Ex. B at 1.) The individuals in Groups 2, 3, and 4 received the same type of
                   11   notice, (Ex. G), either by email or—for those whom the State Bar had only a postal
                   12   address—by postal mail. (Ex. B at 1.) All notices sent to affected individuals,
                   13   regardless of their Group, contained the following information:
                   14         a.     The name of the State Bar and the date the notice was sent;
                   15         b.     The title “INFORMATIONAL NOTICE RE ODYSSEY PORTAL
                                     VULNERABILITY”;
                   16
                              c.     An overview of what happened with the Incident;
                   17
                              d.     A description of the Docket Data involved in the Incident;
                   18
                              e.     The actions the State Bar had taken and was taking to address the
                   19                Incident;
                   20         f.     Whether the individual’s information was a Viewed Record or not;
                   21         g.     Important information about the State Bar’s investigation and
                                     remediation of the Incident; and
                   22
                              h.     For those individuals with Viewed Records (Group 1), an email address
                   23                they could contact if they had questions that were not addressed.
                   24
                   25   (Exs. D, E, F, G.) By July 11, 2022, the State Bar had sent notices to all affected
                   26   individuals for whom it had contact information by July 11, 2022. (Ex. B at 1.)
                   27         C.     THIS LITIGATION
                   28         Plaintiffs filed this class-action lawsuit in California state court on
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                    1   March 18, 2022 and on April 13 filed the operative First Amended Complaint
                    2   (“FAC”). (Dkt. 1 ¶¶ 1, 10.) In the FAC, Plaintiffs allege that they reside in California
                    3   and are either (a) attorneys who have been the subject of a State Bar disciplinary
                    4   proceeding or (b) non-attorneys who have submitted complaints against attorneys,
                    5   i.e., complaining witnesses. (Dkt. 1-8 ¶¶ 1–5.) The FAC lodges seven causes of
                    6   action against various groupings of defendants: (1) violation of the IPA; (2) invasion
                    7   of privacy under article I, section 1 of the California Constitution; (3) invasion of
                    8   privacy under California Civil Code section 1798.53; (4) violation of section 2 of the
                    9   Sherman Antitrust Act; (5) violation of section 3 of the Sherman Antitrust Act; (6)
                   10   negligence; and (7) negligence per se. (Id. ¶¶ 50–129.) All but the third cause of
                   11   action are brought against the State Bar. (Id.)
                   12         Tyler, with the consent of all Defendants, removed the lawsuit to this Court on
                   13   May 13. (Dkt. 1.) Defendants each filed a motion to dismiss on June 6, (Dkts. 35,
                   14   36, 38); Plaintiffs filed oppositions on July 6, (Dkts. 54, 55, 56); and Defendants filed
                   15   replies on July 25, (Dkts. 67, 68, 69). The State Bar argued in its briefing that each
                   16   of the causes of action alleged against it failed to state a claim under Federal Rule of
                   17   Civil Procedure 12(b)(6). With respect to the IPA claim, the State Bar contended
                   18   that (1) the State Bar is not subject to that statute because it is not an “agency” as that
                   19   term is defined in the IPA; (2) Plaintiffs did not comply with the CTCA’s
                   20   administrative claim presentation requirement, which mandates that a putative
                   21   plaintiff submit a written claim to the State Bar and have that claim “acted upon”
                   22   before commencing litigation; and (3) Plaintiffs failed to allege that they suffered an
                   23   “adverse effect” from the alleged IPA violation. (Dkt. 38-1 at 8–10; Dkt. 68 at 2–3.)
                   24   The State Bar also asserted that the FAC contained only conclusory allegations to
                   25   support the invasion-of-privacy claim under the California Constitution, such that
                   26   Plaintiffs failed to plead any of the three required elements: (1) a serious invasion of
                   27   privacy; (2) a legally protected privacy interest; or (3) a reasonable expectation of
                   28   privacy. (Dkt. 38-1 at 10–12; Dkt. 68 at 4–10.)
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                    1          On May 26, 2022, the parties met and conferred regarding Defendants’
                    2   motions to dismiss and “the basis for Plaintiffs’ potential motion for preliminary
                    3   injunction.” (Ex. H at 1.) Two months later, on July 26, Plaintiffs’ counsel sent an
                    4   email “seeking a written reassurance from the State Bar of California that it will
                    5   immediately cease and desist from filing any public notice of disciplinary charges
                    6   against any victim of the breach if the investigation/complaint is more than six
                    7   months old.” (Ex. I at 1–2.) The State Bar did not agree to the request for three
                    8   reasons: (1) OCTC “is responsible for the enforcement and prosecution of
                    9   disciplinary charges”; (2) “the Board of Trustees of the State Bar may not interfere
                   10   with the OCTC’s independence or his discretion to investigate and prosecute
                   11   disciplinary proceedings;” and (3) “delaying a disciplinary proceeding would result
                   12   in undermining the State Bar’s ‘highest priority’ as established by law, which is the
                   13   ‘[p]rotection of the public.’” (Id. at 1 (quoting Cal. Bus. & Prof. Code § 6001.1).)
                   14          It was not until August 5—almost five months after Plaintiffs filed this lawsuit
                   15   and more than two months after Plaintiffs’ counsel first proposed filing a motion for
                   16   preliminary injunction—that Plaintiffs finally filed the Motion at issue here. The
                   17   State Bar now submits this opposition.
                   18   III.   LEGAL STANDARD
                   19          A preliminary injunction is “an extraordinary and drastic remedy,”
                   20   Munaf v. Geren, 553 U.S. 674, 676 (2008), that “can only be employed for the
                   21   ‘limited purpose’ of maintaining the status quo,” Zepeda v. U.S. I.N.S., 753 F.2d 719,
                   22   728 n.1 (9th Cir. 1983) (quoting Univ. of Texas v. Camenisch, 451 U.S. 390, 395
                   23   (1981)). Thus, a district court should enter a preliminary injunction only “upon a
                   24   clear showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22. In
                   25   the Ninth Circuit, “[a] party seeking a preliminary injunction must meet one of two
                   26   variants of the same standard.” All. for the Wild Rockies v. Pena, 865 F.3d 1211,
                   27   1217 (9th Cir. 2017).
                   28
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                    1           The first variant is the four-factor test established by the Supreme Court in
                    2   Winter, where a party seeking a preliminary injunction “must establish” that (1) “he
                    3   is likely to succeed on the merits,” (2) “he is likely to suffer irreparable harm in the
                    4   absence of preliminary relief,” (3) “the balance of equities tips in his favor,” and
                    5   (4) “an injunction is in the public interest.” Winter, 555 U.S. at 20.
                    6           Under the second variant, the Ninth Circuit employs a “sliding scale” approach
                    7   to two of the Winter factors, “which allows a strong showing on the balance of
                    8   hardships to compensate for a lesser showing of likelihood of success.” Fallon
                    9   Paiute-Shoshone Tribe v. U.S. Dep’t of the Interior, 2022 WL 3031583, at *2 (9th Cir.
                   10   Aug. 1, 2022). “[I]f a plaintiff can only show that there are ‘serious questions going
                   11   to the merits’—a lesser showing than likelihood of success on the merits—then a
                   12   preliminary injunction may still issue if the ‘balance of hardships tips sharply in the
                   13   plaintiff’s favor,’ and the other two Winter factors are satisfied.” Pena, 865 F.3d at
                   14   1217.
                   15           Yet a third variant of the preliminary injunction standard applies when a party
                   16   seeks a “mandatory” injunction; i.e., one that requires another party to “take action”
                   17   as opposed to a “prohibitory” injunction that merely “restrains” a party from further
                   18   action. Meghrig v. KFC Western, Inc., 516 U.S. 479, 484 (1996). To obtain a
                   19   mandatory injunction, a party must demonstrate the four Winter factors, but on the
                   20   merits element they “must establish that the law and facts clearly favor [their]
                   21   position, not simply that [they are] likely to succeed.” Garcia v. Google, Inc.,
                   22   786 F.3d 733, 740 (9th Cir. 2015).          Mandatory injunctions are “particularly
                   23   disfavored.” Id. (internal quotation marks and citation omitted).
                   24
                   25
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                    1   IV.   ARGUMENT
                    2         A.     THE MOTION SHOULD BE DENIED BECAUSE PLAINTIFFS FAIL TO
                                     SATISFY EACH OF THE FOUR WINTER FACTORS
                    3
                                     1.     Plaintiffs fail to show a likelihood of success on the merits
                    4
                    5         As thoroughly argued in the State Bar’s briefing supporting its motion to
                    6   dismiss the FAC, Plaintiffs have failed to state a claim for violation of the IPA or
                    7   invasion of privacy under the California Constitution as a matter of law. (Dkt. 38-1
                    8   at 8–12; Dkt. 68 at 2–10.)4 For the same reasons, those two claims are unlikely “to
                    9   succeed on the merits.” Winter, 555 U.S. at 20; see also Doe v. Fed. Dist. Ct., 467
                   10   F. App’x 725, 728 (9th Cir. 2012) (“Because Doe’s complaint was insufficient to
                   11   survive a motion to dismiss for failure to state a claim, she could not show a strong
                   12   likelihood of success on the merits.”).
                   13         As argued below, (see Section IV.A.3, infra), the balance of the equities does
                   14   not favor Plaintiffs, let alone “tip sharply in [their] favor.” Pena, 865 F.3d at 1217.
                   15   Therefore, the Court should decline Plaintiffs’ invitation to apply the “serious
                   16   questions” variant of the Winter test in this case. (Mot. at 2.) Additionally, one of
                   17   Plaintiffs’ requests—that the State Bar “[p]repare and upload Notices of Breach in
                   18   compliance with the [IPA],” (Mot. at 14)—seeks a mandatory injunction, and thus
                   19   Plaintiffs must show that “the law and facts clearly favor” their merits arguments to
                   20   obtain that relief. Garcia, 786 F.3d at 740. Regardless of which standard applies,
                   21   Plaintiffs’ Motion misses the mark.
                   22                       a.      The IPA claim is unlikely to succeed on the merits
                   23         Plaintiffs are unlikely to succeed on the merits of their IPA claim for three
                   24   independent reasons. First, the IPA does not apply to the State Bar. The IPA applies
                   25   only to an “agency,” which does not include “any agency established under Article
                   26   VI of the California Constitution.” Cal. Civ. Code 1798.3(b)(2). That is the article
                   27
                        4
                   28    Plaintiffs do not assert any of their other causes of action in the Motion and, as such,
                        have waived any argument that those claims would support a preliminary injunction.
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                    1   under which the State Bar is established. See Soderstrom v. Ocampo, 2019 WL
                    2   8014552, at *2 (C.D. Cal. June 17, 2019) (“The State Bar is a public corporation
                    3   established by the California State Constitution.” (citing Cal. Const., art. VI, § 9)).
                    4   The IPA’s inapplicability to the State Bar is clear from a recently-proposed bill in the
                    5   California State Legislature that would (if ultimately enacted) subject the State Bar
                    6   to certain provisions of the IPA in the future. (Ex. J.) Of course, the Legislature
                    7   would have no need to consider adopting such a bill if the State Bar were already
                    8   subject to the IPA.
                    9         Second, even if the State Bar were subject to the IPA, the FAC does not allege
                   10   that each of the five Plaintiffs satisfied the CTCA’s presentation requirements by
                   11   “present[ing]” a claim to the State Bar or that the State Bar “acted upon” that claim.
                   12   Cal. Gov. Code § 945.4. Plaintiffs belatedly attempt to cure this plain deficiency by
                   13   submitting one purported government claim and three purported claim rejections
                   14   (one of them rejecting a claim made by Plaintiffs’ counsel, not one of the Plaintiffs).
                   15   (Dkt. 74 at 18–24.) These documents are not part of the FAC and cannot save this
                   16   claim from dismissal under Rule 12(b)(6). See Schneider v. Cal. Dep’t of Corr.,
                   17   151 F.3d 1194, 1197 n.1 (9th Cir. 1998) (ruling “[i]n determining the propriety of a
                   18   Rule 12(b)(6) dismissal, a court may not look beyond the complaint to a plaintiff’s
                   19   moving papers”). In any event, these documents do not cure the deficiency; there are
                   20   five Plaintiffs, but only one claim and two claim rejections. Also, both rejections are
                   21   dated May 2, 2022, (Dkt. 74 at 20, 22), showing that these alleged government claims
                   22   were plainly not “acted upon” as of April 13—the date that Plaintiffs filed the FAC
                   23   containing the IPA cause of action.5
                   24         Third, the FAC does not adequately allege that Plaintiffs suffered an “adverse
                   25   effect,” which is an “essential element of a claim under the IPA.” Lachtman v.
                   26
                   27
                        5
                          While the declaration of Plaintiffs’ counsel purports to identify these two
                        individuals as Plaintiffs, (Dkt. 74 ¶ 2), counsel still refuses to identify her clients to
                   28   the State Bar. (Declaration of Tiana Demas ¶ 2.) The State Bar is thus unable to
                        verify if these individuals are Plaintiffs.
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                    1   Regents of Univ. of Cal., 158 Cal. App. 4th 187, 212 (2007). Threadbare allegations
                    2   that complainants or attorneys “have been harmed” are not sufficient. See id.
                    3   (dismissing IPA claim where the plaintiff failed show “that any purported disclosure
                    4   of his student records with other students had an adversely effected [sic] on him”).
                    5         The Court should also reject Plaintiffs’ attempt to amend the FAC by
                    6   submitting the notices that four Plaintiffs allegedly received from the State Bar
                    7   concerning the Incident. Again, attempting to amend a complaint in this way is
                    8   improper. Schneider, 151 F.3d at 1197 n.1. In any event, the documents submitted
                    9   by Plaintiffs demonstrate what the State Bar (and the other defendants) have argued:
                   10   Plaintiffs fail to allege an adverse effect. There are five anonymous Plaintiffs, yet
                   11   only four individuals submitted notices, three of which plainly state “the State Bar
                   12   has no evidence that your nonpublic State Bar record(s) had page views.”
                   13   (Dkt. 75 at 9–10; Dkt. 77 at 10–11; Dkt. 79 at 10–11.) The fifth attested that she
                   14   “ha[s] not received an email from the State Bar.” (Dkt. 83 ¶ 6.) And none of the five
                   15   individuals—including the one who received a notice suggesting their Docket Data
                   16   “showed evidence of a page view,” (Dkt. 76 at 8–10)—proffered any non-conclusory
                   17   facts showing the Incident caused them an adverse effect. Thus, even if these
                   18   declarations are considered credible by the Court (and they should not be), they do
                   19   not demonstrate that the IPA claim is likely to succeed.6
                   20         The declaration submitted by the individual who identifies as either “R.S” or
                   21   “N.G.”—the declaration contains both sets of initials—is particularly untrustworthy.
                   22   In it, R.S./N.G. asserts that they believe their “identity has been stolen” because their
                   23   “date of birth, social security number, IRS ID and my NCBE . . . was part of the data
                   24   breach.” (Dkt. 79 ¶ 9.) But the FAC contains no allegations that such information
                   25
                   26
                        6
                          The Court should also reject Plaintiffs’ brand-new argument that the notices fail to
                        satisfy the IPA. (Mot. at 4–5.) As argued above, the State Bar is not subject to the
                   27   IPA. In addition, neither the notices, nor the allegation that they fail to comply with
                        the IPA, is in the FAC. Even if they were, the notices appear to include the minimum
                   28   information required by the IPA and, consequently, the Court should find Plaintiffs
                        have not clearly shown a likelihood of success on the IPA claim at this stage.
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                    1   was part of the Incident; to the contrary, it concedes that only limited Docket Data—
                    2   which does not include such information—is at issue in this case. (FAC ¶ 32; see
                    3   also Exs. A, B.) R.S./N.G. also provides no specific facts supporting their claim of
                    4   identity theft.   Three days after filing the declaration, Plaintiffs filed a notice
                    5   “withdraw[ing] the statements made in [the] declaration that can be found in
                    6   paragraphs 1, 3, and 10” because “[R.S./N.G.] is not a member of the California State
                    7   Bar.” (Dkt. 80.) Rather, Plaintiffs now contend that R.S./N.G.’s “confidential
                    8   investigation that was breached related to [their] attempt to become admitted into the
                    9   State Bar of California.” (Dkt. 80.) But the FAC does not allege that attorney
                   10   applicant information was part of the Incident. As Plaintiffs allege, the Odyssey
                   11   Portal contains only records related to “disciplinary proceedings,” (FAC ¶ 17), not
                   12   attorney admissions.       Consequently, even assuming R.S./N.G. is one of the
                   13   anonymous Plaintiffs, that individual may not be a proper party to this case. At a
                   14   minimum, their declaration should not be credited.
                   15                       b.      The invasion of privacy claim under the California
                                                    Constitution is unlikely to succeed on the merits
                   16
                   17         Plaintiffs’ constitutional invasion of privacy claim is not likely to succeed on
                   18   the merits because it does not satisfy the “high bar for establishing” any of the claim’s
                   19   three elements. In re Yahoo Mail Litig., 7 F. Supp. 3d 1016, 1038 (N.D. Cal. 2014)
                   20   (internal quotation marks omitted). For example, the Motion fails to clearly show
                   21   that the alleged violation was “sufficiently serious in [its] nature, scope, and actual
                   22   or potential impact to constitute an egregious breach of the social norms underlying
                   23   the privacy right.” Hill v. Nat’l Collegiate Athletic Assn., 7 Cal.4th 1, 37 (1994).
                   24   Plaintiffs’ bare-bones allegations in the FAC fail to identify any actual, specific harm
                   25   they purportedly suffered. The self-serving declarations submitted with the Motion
                   26   from individuals purporting to be Plaintiffs, which the Court should disregard as
                   27   unreliable, likewise contain no such specific facts. And neither the FAC nor the
                   28   Motion contain any well-pled or credible fact showing the State Bar’s intent to invade
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                    1   anyone’s privacy, let alone Plaintiffs’.
                    2         The Motion also fails to clearly show the other two elements of this claim: that
                    3   Plaintiffs had a “legally protected privacy interest” and a “reasonable expectation of
                    4   privacy” in the Docket Data.        Hill, 7 Cal.4th at 39–40.      Neither element is
                    5   demonstrated by well-pled allegations in the FAC or by specific facts in the deficient
                    6   declarations. “Because it is a threshold inquiry, when a plaintiff has failed to show
                    7   the likelihood of success on the merits, [the Court] need not consider the remaining
                    8   three Winter elements.” Al-Nasser v. Serdy, 2020 WL 3129206, at *2 (C.D. Cal. June
                    9   12, 2020). Plaintiffs fail to clearly show they are likely to succeed on the merits and
                   10   the Court should deny the Motion for that reason alone.
                   11                2.     Plaintiffs fail to show they will suffer irreparable harm
                   12         “[P]laintiffs seeking preliminary relief [must] demonstrate that irreparable
                   13   injury is likely in the absence of an injunction.” Winter, 555 U.S. at 22. Plaintiffs
                   14   “must proffer evidence sufficient to establish a likelihood of irreparable harm.” Herb
                   15   Reed Enters., LLC v. Florida Entm’t Mgmt., Inc., 736 F.3d 1239, 1251 (9th Cir.
                   16   2013). In other words, “a plaintiff must demonstrate immediate threatened injury as
                   17   a prerequisite to preliminary injunctive relief,” Caribbean Marine Servs. Co. v.
                   18   Baldrige, 844 F.2d 668, 674 (9th Cir. 1988). “[C]onclusory” affidavits “without
                   19   sufficient support in facts” do not pass muster. Am. Passage Media Corp. v. Cass
                   20   Commc’ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (finding affidavits from
                   21   plaintiff’s “own executives delineating” harm were insufficient to support irreparable
                   22   injury). Alleged harm that is “too remote and insubstantial” or “too speculative in
                   23   nature” cannot support injunctive relief. Eccles v. Peoples Bank of Lakewood
                   24   Village, Cal., 333 U.S. 426, 434 (1948). Furthermore, a “plaintiff must demonstrate
                   25   that there exists a significant threat of irreparable injury.” Oakland Trib., Inc. v.
                   26   Chron. Pub. Co., 762 F.2d 1374, 1376 (9th Cir. 1985) (emphasis added). Here,
                   27   Plaintiffs’ purported “evidence” does not come close to satisfying their tall burden.
                   28
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                    1                       a.      The Court should not credit the declarations
                    2         At the threshold, the Court should find that the declarations and documents
                    3   submitted with the Motion are not credible. These documents are plainly deficient.
                    4   The five individuals who purport to be Plaintiffs filed declarations under pseudonyms
                    5   or using sometimes conflicting initials that may not be theirs.7 Such “testimony”
                    6   from unidentified sources lacks proper foundation and has not been properly
                    7   authenticated; it is thus inadmissible under Local Rule 7-7 and Federal Rule of Civil
                    8   Procedure 56(c)(4), which requires a declaration “be made on personal knowledge,
                    9   set out facts that would be admissible in evidence, and show that the affiant or
                   10   declarant is competent to testify on the matters stated.” Link Treasure Ltd. v. Baby
                   11   Trend, Inc., 809 F. Supp. 2d 1191, 1195 (C.D. Cal. 2011) (ruling declaration “lacking
                   12   an adequate foundation” is inadmissible under Rule 56(c)(4)).
                   13         The declaration and exhibits submitted by Plaintiffs’ counsel, (Dkt. 74), are
                   14   inadmissible and not credible because they lack proper foundation, recite numerous
                   15   hearsay statements, contain improper opinion by counsel, and—insofar as counsel
                   16   purports to “us[e] [her]self as an example,” (id. ¶ 15)—are both irrelevant to
                   17   Plaintiffs’ alleged harm and unfairly prejudicial. Fed. R. Civ. P. 56(c)(4); Fed. R.
                   18   Evid. 402, 403, 602, 701, 802, 901, 1002. The Court should disregard them.
                   19         Finally, the declaration and exhibits submitted for Kevan Schwitzer—a former
                   20   defendant in this case—are irrelevant to Plaintiffs’ alleged need for relief and merely
                   21   another improper attempt by Plaintiffs to amend the FAC. Notably, Plaintiffs
                   22   misleadingly filed the declaration “in support of motion for preliminary injunction,”
                   23   (Dkt. 78 at 1), but that is certainly not what Mr. Schwitzer intended when he provided
                   24   his affidavit and documents to Plaintiffs in exchange for them dismissing him as a
                   25   defendant.   (Dkt. 26.)     Defendants recently moved to strike Mr. Schwitzer’s
                   26   7
                          Each of these individuals asserts that “the State Bar and other defendants should be
                   27   able to figure out my identity.” (Dkt. 75 ¶ 7; Dkt. 76 ¶ 5; Dkt. 77 ¶ 5; Dkt. 79 ¶ 5;
                        Dkt. 83 ¶ 8.) If that is true, Plaintiffs do not explain why they are unwilling to
                   28   disclosure their true identities or withdraw their motion to proceed under pseudonyms
                        in this litigation. (Dkts. 41, 58.)
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                    1   declaration and several exhibits filed by Plaintiffs under a request for judicial notice
                    2   as both an improper attempt to amend the FAC and not properly subject to judicial
                    3   notice under Federal Rule of Evidence 201(b). (Dkt. 84.) The State Bar requests that
                    4   the Court strike or otherwise disregard the Schwitzer declaration submitted with the
                    5   Motion for the same reasons. See Schneider, 151 F.3d at 1197 n.1 (holding courts
                    6   may not consider documents outside the complaint under Rule 12(b)(6)); Walker v.
                    7   Woodford, 454 F. Supp. 2d 1007, 1022 (S.D. Cal. 2006), aff’d in part, 393 F. App’x
                    8   513 (9th Cir. 2010) (holding courts may not take judicial notice of matters in dispute).
                    9                       b.      Plaintiffs’ documents do not establish irreparable harm
                   10         Even if the Court considers some or all of these documents, they do not clearly
                   11   show a likelihood of irreparable harm. Plaintiffs assert two kinds of harm, but do not
                   12   establish that either of these harms actually exists or is likely to occur imminently.
                   13   First, the individual identifying as “M.A.,” a non-attorney, asserts that she “filed
                   14   State Bar complaints against people who work/worked for the San Mateo District
                   15   Attorney’s Office” and claims that, if those charges were publicly filed now, she
                   16   might be “in danger of retaliation.” (Dkt. 75 ¶¶ 1, 9.) But the notice she claims she
                   17   received stated that “the State Bar has no evidence that your nonpublic State Bar
                   18   record(s) had page views.” (Id. at 9.) And M.A. provides no facts explaining why
                   19   she fears retaliation, let alone fears it now, as opposed to when she originally filed
                   20   her complaints, when she was presumably aware they could become public if OCTC
                   21   brought charges. If M.A. was not aware the charges might become public, that is not
                   22   the State Bar’s fault and (even if true) would not support irreparable harm or the relief
                   23   Plaintiffs seek here.
                   24         Second, the other four purported individuals’ only alleged harm arises from
                   25   their claim that they “fear that the State Bar will start taking . . . old confidential
                   26   investigation files and file charges, not because they believe there is more merit to
                   27   them, but because they can then argue there was no damage due to the breach.” (Mot.
                   28   at 6.) To be clear, the State Bar has not done this, has not threatened to do this, and
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                    1   would never do this. Nor could the State Bar do this because among things, OCTC
                    2   controls all charging decisions and Plaintiffs have not revealed their true identities to
                    3   the State Bar. In contrast, Plaintiffs provide zero credible, non-conclusory evidence
                    4   to sustain their remarkable theory. The declarations of the four individuals asserting
                    5   this alleged harm contains only bald speculation. That is not enough. See Caribbean
                    6   Marine, 844 F.2d at 674 (“Speculative injury does not constitute irreparable injury
                    7   sufficient to warrant granting a preliminary injunction.”). Plaintiffs have offered no
                    8   evidence supporting irreparable injury.
                    9                       c.      The Motion fails to show harm that is irreparable
                   10         It is well-settled that “the basis of injunctive relief in the federal courts has
                   11   always been irreparable harm and inadequacy of legal remedies.” Sampson v.
                   12   Murray, 415 U.S. 61, 88 (1974); see also Cutera, Inc. v. Lutronic Aesthetics, Inc.,
                   13   444 F. Supp. 3d 1198, 1208 (E.D. Cal. 2020) (ruling “economic injury is not
                   14   irreparable because monetary damages are an adequate remedy”). Even if taken at
                   15   face value, Plaintiffs’ two theories of harm—fear of retaliation or lessened ability to
                   16   seek damages in this litigation—involve alleged losses that plainly would be
                   17   compensable by money damages. Injunctive relief is inapt.
                   18                       d.      Plaintiffs’ delay weighs against irreparable harm
                   19         Plaintiffs filed this lawsuit on March 18, 2022, and notified the State Bar they
                   20   were considering filing a motion for preliminary injunction on May 26, but did not
                   21   file the Motion until August 5. A months-long delay of this sort “undercut[s]”
                   22   Plaintiffs’ “claim of irreparable harm.” Garcia, 786 F.3d at 738 (affirming district
                   23   court’s conclusion that five-month delay militated against “a clear showing of
                   24   irreparable harm”); see also Oakland Trib., 762 F.2d at 1377 (“Plaintiff’s
                   25   long delay before seeking a preliminary injunction implies a lack of urgency and
                   26   irreparable harm.”). Plaintiffs offer no justification for their delay. For the reasons
                   27   above, the Motion fails to establish the second Winter factor of irreparable harm.
                   28
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                    1                3.      The Balance of Equities Favors the State Bar
                    2         “In each case, courts must balance the competing claims of injury and must
                    3   consider the effect on each party of the granting or withholding of the requested
                    4   relief.” Winter, 555 U.S. at 24. The scale tips strongly toward the State Bar.
                    5         On Plaintiffs’ side, the Motion neither establishes a likelihood of success nor
                    6   provides evidence supporting their asserted harms. (See Sections IV.II.A–B, supra.)
                    7   The Motion also lacks authority for the bare claim that the IPA “has already codified
                    8   that there is an implied irreparable damage.” (Mot. at 10.) In sum, the Court should
                    9   accord zero weight to Plaintiffs’ claims of injury.
                   10         For the State Bar, the hardships that would be imposed by the requested
                   11   preliminary injunction are substantial and unjustified. For example, the relief sought
                   12   by Plaintiffs would require the State Bar to prepare and send to hundreds of thousands
                   13   of duplicative notices containing the same basic information as the first round, but
                   14   without using the phrase “page views” (all because Plaintiffs’ counsel suggests that
                   15   some unidentified individuals were momentarily confused by it).8 Such drastic
                   16   preliminary relief would impose an enormous and unnecessary cost on a public
                   17   entity; Plaintiffs’ bald claim that “[t]his cost would be negligible” is disingenuous
                   18   and incorrect. Id.
                   19         Moreover, if the Motion is granted, the State Bar would also be precluded from
                   20   freely communicating with its defense counsel and to the other defendants about
                   21   evidence and information central to the claims and defenses in this litigation. See
                   22   Mot. at 14 (seeking injunction to “restrain the State Bar from sharing any confidential
                   23   or sensitive information it has accumulated on the plaintiffs with the Defendants
                   24   counsel or defendants in this case”). “[Courts] have long recognized that ‘the
                   25   8
                          The requested relief also would raise serious constitutional concerns. The State Bar
                   26   has the right to “speak for itself.” Pleasant Grove City, Utah v. Summum, 555 U.S.
                        460, 467 (2000). As the Supreme Court has recognized, “[i]f every citizen were to
                   27   have a right to insist that no one paid by public funds express a view with which he
                        disagreed, debate over issues of great public concern to the public would be limited
                   28   to those in the private sector, and the process of government as we know it would be
                        radically transformed.” Keller v. State Bar of Cal., 496 U.S. 1, 12–13 (1990).
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                    1   advocate and counselor [needs] to know all that relates to the client’s reasons for
                    2   seeking representation’ if he is to provide effective legal advice.” In re Pac. Pictures
                    3   Corp., 679 F.3d 1121, 1126 (9th Cir. 2012) (quoting Trammel v. United
                    4   States, 445 U.S. 40, 51 (1980)). Granting this unprecedented and extreme form of
                    5   relief would severely undermine the State Bar’s counsel’s ability to effectively
                    6   represent the State Bar for no corresponding benefit.
                    7            Finally, the State Bar would face significant hardship in performing one of its
                    8   core functions: enforcing attorney discipline in California. Plaintiffs demand that the
                    9   Court order the State Bar to interfere with the independence of OCTC and prevent it
                   10   from exercising its discretion to proceed with charges against any licensed attorney
                   11   who is suspected of an ethical violation if those charges spring from an investigation
                   12   more than six months old. “[T]he public is dependent upon professionally ethical
                   13   conduct of attorneys and thus has a significant interest in assuring and maintaining
                   14   high standards of conduct of attorneys engaged in practice.” Middlesex Cnty. Ethics
                   15   Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 434 (1982). If OCTC’s discretion
                   16   is curtailed, and it is barred from prosecuting a certain set of disciplinary charges for
                   17   reasons unrelated to the merits of those cases, unethical attorneys could continue to
                   18   prey on unsuspecting clients or the general public. That outcome would completely
                   19   undermine the State Bar’s ability to perform its critical disciplinary function and
                   20   cause damage to the State Bar’s reputation and the public’s perception of the overall
                   21   legal profession. As such, the equities weigh overwhelmingly in the State Bar’s
                   22   favor.
                   23                  4.     The Proposed Relief Would Not Serve the Public Interest
                   24            Finally, the “public interest” factor requires courts to “pay particular regard for
                   25   the public consequences in employing the extraordinary remedy of injunction.”
                   26   Winter, 555 U.S. at 24 (citation omitted). Here, the Court would serve the public
                   27   interest by denying the Motion and enabling the State Bar to continue upholding
                   28   “professionally ethical conduct of attorneys” in California. See, e.g., Middlesex, 457
                                                                                       STATE BAR’S OPP. TO PLAINTIFFS’
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                    1   U.S. at 434.9 The public interest would not be served by establishing a precedent that
                    2   courts may order parties not to communicate freely with their counsel about matters
                    3   crucial to their defense. See, e.g., Mothershed v. Justs. of Supreme Ct., 410 F.3d 602,
                    4   611 (9th Cir. 2005) (recognizing “at least as a general matter—the right to hire and
                    5   consult an attorney is protected by the First Amendment’s guarantee of freedom of
                    6   speech, association and petition” (internal quotation marks omitted)).
                    7         Plaintiffs contend the public interest is served by their requested relief because
                    8   the State Bar is “[u]sing the State Bar disciplinary system to lessen liability by
                    9   making matters the State Bar kept confidential for years public now” and doing so
                   10   “would erode the integrity of an effective disciplinary system.” (Mot. at 11.) That
                   11   is nonsense. “[T]he Court should weigh the public interest in light of the likely
                   12   consequences of the injunction.      Such consequences must not be too remote,
                   13   insubstantial, or speculative and must be supported by evidence.” Stormans, Inc. v.
                   14   Selecky, 586 F.3d 1109, 1139 (9th Cir. 2009). Plaintiffs’ conclusory assertions,
                   15   bereft of any factual support, are unavailing. The public interest factor cuts sharply
                   16   against the relief sought by the Motion. And because Plaintiffs fail to clearly show
                   17   any of the four Winter factors, the Motion should be denied.
                   18         B.     The Motion Should Be Denied Because Plaintiffs’ Requested Relief
                                     is Overbroad, Not Tailored to the Harm Alleged in the FAC, and
                   19                Otherwise Is Improper
                   20         In addition to failing the Winter test, the Motion is deficient for numerous other
                   21   reasons. “[A] trial court abuses its discretion by fashioning an injunction which is
                   22   9
                          While not strictly applicable here, federal abstention doctrines provide a useful
                   23   analogy. “Federal courts generally are required to abstain from granting injunctive
                        or declaratory relief that would interfere with pending state judicial proceedings.” In
                   24   re Rose, 22 Cal. 4th at 447; see also Olagues v. Russoniello, 770 F.2d 791, 804 (9th
                        Cir. 1985) (finding “similar considerations of restraint in ordering such relief arise
                   25   out of principles of comity and federalism”). Because it is California’s “legislative
                        policy to limit jurisdiction in attorney disciplinary actions to [the Supreme Court of
                   26   California], and to the State Bar,” Jacobs v. State Bar, 20 Cal.3d 191, 198 (1977), it
                        would not serve the public interest for the Court to grant preliminary relief that
                   27   interferes with OCTC’s prosecutorial independence, see also Albert v. State Bar of
                        California, 2018 WL 1529285, at *4 (Cal. Ct. App. Mar. 29, 2018) (holding “the
                   28   California Supreme Court essentially exercises original, exclusive, and plenary
                        jurisdiction over attorney disciplinary proceedings”).
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                    1   overly broad.” United States v. AMC Ent., Inc., 549 F.3d 760, 768 (9th Cir. 2008).
                    2   Injunctive relief also “‘must be tailored to remedy the specific harm alleged.’” E.
                    3   Bay Sanctuary Covenant v. Barr, 934 F.3d 1026, 1029 (9th Cir. 2019) (quoting
                    4   Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991)). In
                    5   other words, “there must be a relationship between the injury claimed in the motion
                    6   for injunctive relief and the conduct asserted in the underlying complaint.” Pac.
                    7   Radiation Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631, 636–37 (9th Cir.
                    8   2015) (denying motion “based on potential misconduct entirely unrelated to
                    9   [movant’s] unfair trade practices claims”); see also Califano v. Yamasaki, 442 U.S.
                   10   682, 702 (1979) (ruling scope of injunctive relief “is dictated by the extent of the
                   11   violation established”).
                   12         The Motion does not satisfy any of these requirements. Plaintiffs seek to
                   13   restrain the State Bar in three ways: from (1) using the phrase “page views” in its
                   14   notifications to individuals affected by the Data Incident; (2) filing public Notices of
                   15   Disciplinary Actions against State Bar members whose investigation began more
                   16   than six months ago; and (3) sharing confidential information it has accumulated
                   17   about Plaintiffs with its counsel or other defendants. (Mot. at 13–14.) The Motion
                   18   also seeks to require the State Bar to disseminate “Notices of Breach” that say what
                   19   Plaintiffs wish. (Id. at 14.) Each is deficient and should not be granted.
                   20         First, Plaintiffs’ request that the State Bar not use the phrase “page views” in
                   21   its notices is overbroad and not tailored to any claimed injury in the FAC, which was
                   22   filed before the State Bar sent the notices and thus does not mention them at all. The
                   23   only injuries alleged in the FAC are emotional distress, (FAC ¶¶ 38, 41, 119, 128),
                   24   and time and expenses spent responding to the Incident, (id. ¶¶ 41, 110, 129), none
                   25   of which have anything to do with the phrase “page views” as it appears in the notices.
                   26   The relief Plaintiffs seek here is also unsupported by any evidence. Nowhere do the
                   27   five individuals purporting to be Plaintiffs allege that they were confused by that
                   28   phrase. The declaration from Plaintiffs’ counsel that “[s]ome of the people who
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                    1   reached out to me” believed that phrase meant none of their Docket Data “landed on
                    2   the website,” (Dkt. 74 ¶ 25), should be disregarded as unsupported, noncredible, self-
                    3   serving hearsay. See Eccles, 333 U.S. at 434 (holding “claims of injury . . . supported
                    4   entirely by affidavits . . . is apt to be treacherous”). Finally, because the State Bar
                    5   has already sent the notices that use the phrase “page views,” it is too late to change
                    6   them; a preliminary injunction would be pointless.
                    7         Second, the Motion seeks to stop the State Bar from filing charges against any
                    8   licensed attorney arising from investigations more than six months old, regardless of
                    9   whether those charges have merit. Such a request is, on its face, overbroad; it both
                   10   encompasses meritorious charges and extends far beyond the three alleged attorneys
                   11   and one alleged attorney-applicant who claim to be Plaintiffs. Plaintiffs cannot claim
                   12   to seek an injunction for the putative class because, “[w]ithout a properly certified
                   13   class, a court cannot grant relief on a class-wide basis.” Zepeda, 753 F.2d at 728 n.1.
                   14   This relief is also not linked to any alleged harms arising from the IPA or
                   15   constitutional invasion-of-privacy claims, which rest on the State Bar’s alleged
                   16   conduct during and after the Incident, not the alleged filing of non-meritorious public
                   17   charges. (FAC ¶¶ 50–72.) “Plaintiff[s’] request for preliminary injunctive relief
                   18   must be denied because the injury alleged in the instant Motion is unrelated to the
                   19   conduct giving rise to the Complaint.” Castle v. Soto, 2015 WL 2415536, at *2 (C.D.
                   20   Cal. May 15, 2015). And, as argued above, Plaintiffs proffer no credible evidence
                   21   that the State Bar would or could file public charges for no other reason than to reduce
                   22   Plaintiffs’ asserted damages. (See Section IV.A.2.a, supra.) Rather, the discretion
                   23   to bring public charges is committed to OCTC and the State Bar is unable to interfere
                   24   with OCTC’s prosecutorial independence. (See Section II.A, supra.) The relief
                   25   sought by Plaintiffs here is thus not tailored to the alleged harm and should be denied.
                   26         Third, Plaintiffs’ effort to interfere with the State Bar’s relationship with its
                   27   counsel and co-defendants is legally meritless, factually unsound, and entirely
                   28   unmoored from the claimed harms at issue in this litigation. Plaintiffs cite no
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                    1   applicable authority for the extreme intrusion into the attorney-client relationship
                    2   they seek. The only case Plaintiffs cite in support, American Airlines v. Sheppard,
                    3   96 Cal. App. 4th 1017 (2002), concerns attorney-client relations generally and in no
                    4   way resembles the facts of this case or supports Plaintiffs’ requested relief. To the
                    5   contrary, precluding free and open communication between clients and their
                    6   attorneys about matters vital to ongoing litigation would undermine the well-
                    7   established principle that “sound legal advice or advocacy serves public ends and that
                    8   such advice or advocacy depends upon the lawyer’s being fully informed by the
                    9   client.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981) (emphasis added).
                   10         Nor do Plaintiffs specify what “confidential information from the plaintiff
                   11   members . . . will be or appears to be useful to the State Bar as an adversary.” (Mot.
                   12   at 13.) If Plaintiffs are referring to the Docket Data from the Incident, such
                   13   information is obviously central to the claims and defenses in this litigation, and
                   14   counsel for the State Bar is entitled to review and discuss it with counsel. At core,
                   15   “Plaintiffs offer nothing meaningful to support their claim of irreparable injury,” and
                   16   instead “rest on unsubstantiated generalities and provide no support for purported
                   17   intangible injuries which could not otherwise be remedied by a damages award.”
                   18   Exergy Dev. Grp. of Idaho, LLC v. Dressel, 2010 WL 4323079, at *2 (E.D. Cal. Oct.
                   19   26, 2010).
                   20         Fourth, the Motion seeks to have the State Bar prepare and send new notices.
                   21   Again, this proposed relief is overbroad; it improperly reaches far beyond the five
                   22   Plaintiffs. Zepeda, 753 F.2d at 728 n.1. Nor is it supported by a clear showing of
                   23   immediacy. Plaintiffs concede that the State Bar already sent out notices and, as
                   24   shown by the documents submitted with the Motion, four of the individuals
                   25   purporting to be Plaintiffs received notices that contained information about, among
                   26   other things, the Incident and steps the State Bar had taken to address it. (See Section
                   27   II.B, supra.) Plaintiffs have simply failed to show that a preliminary injunction
                   28   ordering any of the relief they seek is necessary or proper.
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                    1   V.    CONCLUSION
                    2         For the foregoing reasons, the State Bar respectfully requests that the Court
                    3   deny Plaintiffs’ Motion.
                    4
                    5
                        Dated: August 25, 2022                COOLEY LLP
                    6
                    7                                         /s/ Tiana Demas
                                                              Tiana Demas
                    8
                                                              Attorneys for Defendant
                    9                                         THE STATE BAR OF CALIFORNIA
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